   Case 24-12399-RG               Doc 14 Filed 03/30/24 Entered 03/31/24 00:20:50                                Desc Imaged
                                        Certificate of Notice Page 1 of 3
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 24−12399−RG
                                         Chapter: 7
                                         Judge: Rosemary Gambardella

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Carol Babcock
   15273 Aspen Place
   Stanhope, NJ 07874
Social Security No.:
   xxx−xx−9231
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE



      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 3/28/24.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within seven (7) days from the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: March 28, 2024
JAN: car

                                                                     Jeanne Naughton
                                                                     Clerk
       Case 24-12399-RG                     Doc 14 Filed 03/30/24 Entered 03/31/24 00:20:50                                             Desc Imaged
                                                  Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 24-12399-RG
Carol Babcock                                                                                                          Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 28, 2024                                               Form ID: 148                                                               Total Noticed: 7
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 30, 2024:
Recip ID                Recipient Name and Address
db                   #+ Carol Babcock, 15273 Aspen Place, Stanhope, NJ 07874-2797
520183216             + Nelnet Bank, 13907 S. Minuteman Dr., Ste. 250, Draper, UT 84020-9877
520183214            ++ US BANK, PO BOX 5229, CINCINNATI OH 45201-5229 address filed with court:, US Bank, PO Box 1950, St. Paul, MN 55101-0950

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Mar 28 2024 21:12:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Mar 28 2024 21:12:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
520183215                 EDI: CAPITALONE.COM
                                                                                        Mar 29 2024 00:46:00      Capital One, PO Box 30285, Salt Lake City, UT
                                                                                                                  84130-0285
520183217                 EDI: JPMORGANCHASE
                                                                                        Mar 29 2024 00:46:00      Card Services, Po Box 15298, Wilmington, DE
                                                                                                                  19850

TOTAL: 4


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 30, 2024                                            Signature:           /s/Gustava Winters
       Case 24-12399-RG                  Doc 14 Filed 03/30/24 Entered 03/31/24 00:20:50                                       Desc Imaged
                                               Certificate of Notice Page 3 of 3
District/off: 0312-2                                             User: admin                                                            Page 2 of 2
Date Rcvd: Mar 28, 2024                                          Form ID: 148                                                          Total Noticed: 7



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 28, 2024 at the address(es) listed
below:
Name                            Email Address
Eric Raymond Perkins
                                eperkins@becker.legal nj42@ecfcbis.com;tcolombini@becker.legal;eperkins@becker.legal

Roger Fay
                                on behalf of Creditor U.S. Bank National Association AS TRUSTEE rfay@alaw.net, bkecf@milsteadlaw.com

Roger Fay
                                on behalf of Creditor U.S. Bank National Association rfay@alaw.net bkecf@milsteadlaw.com

U.S. Trustee
                                USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 4
